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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 COREY REED, an individual, and SEAN                   )
 GORECKI, an individual,                               )
                                                       )      No. 17- 04946
                 Plaintiffs,                           )
                                                       )      Honorable Charles R. Norgle, Sr.
                                                       )
                 v.                                    )      Magistrate Judge Sheila Finnegan
                                                       )
 GRUBHUB HOLDINGS INC. and                             )
 GRUBHUB, INC.,                                        )
                                                       )
                 Defendants.                           )


                      STIPULATION OF DISMISSAL WITH PREJUDICE

       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

counsel for the parties, plaintiffs Corey Reed and Sean Gorecki (collectively, “Plaintiffs”) and

defendants Grubhub Holdings Inc. and Grubhub, Inc. (collectively, “Defendants” and, together

with Plaintiff, the “Parties”), that, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil

Procedure, all of the claims that were asserted or that could have been asserted in the above-

captioned action are hereby dismissed with prejudice and without costs to any party as against

the other.

       IT IS HEREBY FURTHER STIPULATED AND AGREED that counsel for the

parties have been authorized by their respective clients to execute this stipulation.

       IT IS HEREBY FURTHER STIPULATED AND AGREED that no party hereto is an

infant or incompetent person for whom a committee or conservator has been appointed.

       IT IS HEREBY FURTHER STIPULATED AND AGREED that this stipulation may

be executed in counterparts and that facsimile/photocopy signatures may be accepted as originals

for all purposes, including filing with the Court.


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         IT IS HEREBY FURTHER STIPULATED AND AGREED that this stipulation may

be filed without further notice with the Clerk of the Court by any party herein.


Dated:      Chicago, Illinois
            October 9, 2017

THE DANN LAW FIRM                              FOX ROTHSCHILD LLP


By: __________________________                 By: __________________________
    Rusty A. Payton, Esq.                          Joseph E. Collins, Esq.
    115 S. LaSalle Street, Suite 2600              353 N. Clark St., Suite 3650
    Chicago, Illinois 60603                        Chicago, Illinois 60654
    Telephone: (312) 702-1000                      Telephone: (312) 517-9200
    Facsimile: (312) 702-1000                      Facsimile: (312) 517-9201
    Email: payton@paytondann.com                   jcollins@foxrothschild.com

    Marc E. Dann, Esq.                               Ernest Edward Badway, Esq.
    Donna J. Taylor-Kolis                            Jason B. Jendrewski, Esq.
    P.O. Box 6031040                                 101 Park Avenue, Suite 1700
    Cleveland, Ohio 44103                            New York, New York 10178
    Telephone: (216) 373-0539                        Telephone: (212) 878-7900
    Facsimile: (312) 702-1000                        Facsimile: (212) 692-0940
    mdann@dannlaw.com                                ebadway@foxrothschild.com
    notices@dannlaw.com                              jjendrewski@foxrothschild.com

Counsel for Plaintiffs Corey Reed              Counsel for Defendants Grubhub Holdings Inc.
 and Sean Gorecki                               and Grubhub, Inc.




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